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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

  UNITED STATES OF AMERICA,                    )           CASE NO. 8:05CR94
                                               )
                Plaintiff,                     )
                                               )        ORDER GRANTING
                vs.                            )    APPOINTMENT OF COUNSEL
                                               )         NUNC PRO TUNC
  LUIS ALBERTO RAMOS-MARTINEZ,                 )
                                               )
                Defendant.                     )

         This matter is before the Court on the motion filed by Michael D. Gooch

  (Filing No. 435) to appoint counsel nunc pro tunc. Mr. Gooch moves this Court,

  nunc pro tunc, to appoint him as appointed counsel for the Defendant’s Rule

  35(b) proceeding. Mr. Ramos-Martinez was sentenced on April 19, 2006. Mr.

  Gooch details in his motion the extent to which he monitored the progress of the

  filing of a Rule 35 motion.

         A Rule 35 motion was filed on September 29, 2008. (Filing No. 429.) An

  order appointing counsel was not entered. Mr. Ramos-Martinez completed his

  federal sentence and was discharged to immigration authorities. According to

  Mr. Gooch’s motion, Ramos-Martinez has been removed from the country.

         Mr. Gooch previously represented the Defendant as CJA counsel. The

  Defendant remained eligible for appointment of counsel under the Criminal

  Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for

  the District of Nebraska. The court finds that Mr. Gooch’s motion should be

  granted and he should be appointed nunc pro tunc for the period of time in

  question.
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        IT IS ORDERED:

        1.     The motion filed by Michael D. Gooch (Filing No. 435) to appoint

  counsel nunc pro tunc is granted;

        2.     The Federal Public Defender must provide the court with a draft

  appointment order (CJA Form 20) bearing the name and other identifying

  information of the CJA Panel attorney in question;

        3.     Counsel's appointment is made under 18 U.S.C. §3006A(f). Under

  the circumstances of this case, the Defendant is relieved of the requirement to

  file a current and complete financial statement to aid the Court in determining

  whether any portion of counsel's fees and expenses should be reimbursed by the

  Defendant; and

        4.     The Clerk is directed to send a copy of this order to the Federal

  Public Defender for the District of Nebraska.

        DATED this 20th day of March, 2009.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




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